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                         EXHIBIT
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                                             Case 3:17-cv-02086-SI
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                                    4                                 UNITED STATES DISTRICT COURT

                                    5                                NORTHERN DISTRICT OF CALIFORNIA

                                    6

                                    7    LEONARD DESILVIO,                                   Case No. 17-cv-02086-SI
                                    8                   Plaintiff,
                                                                                             ORDER RE: PROPOSED LEAD
                                    9            v.                                          PLAINTIFFS
                                   10    LION BIOTECHNOLOGIES, INC., et al.,
                                   11                   Defendants.

                                   12          The Court is in receipt of three competing motions to appoint lead plaintiff and lead
Northern District of California
 United States District Court




                                   13   counsel in this case. The three movants for lead plaintiff are: (1) Kimberly Colautti and Michele

                                   14   Rosati (together, “Colautti and Rosati”), Dkt. No. 10; (2) Jay Rabkin (“Rabkin”), Dkt. No. 13; and

                                   15   (3) Su Yee Lynn Ho, Sriram Sundareswaran, Manfred E. Strauch, and Kevin Fong (together, the

                                   16   “Lion Investor Group” or “LIG”), Dkt. No. 20.

                                   17          Each movant has filed the necessary certification, see Dkt. Nos. 11-1, 14-1, 21-2.

                                   18   However, the information provided there is skeletal. Prior to decision on the motions, the Court

                                   19   requires more information about the various movants. Accordingly, each individual movant is

                                   20   hereby ordered to file a brief declaration on or before July 14, 2017, setting forth: (i) each

                                   21   individual’s city and state of residence; (ii) each individual’s occupation; (iii) whether and to what
                                        extent the moving individuals are familiar with one another; (iv) how each individual came to
                                   22
                                        retain his/her respective lawyer(s); and (v) the general nature of each individual’s investment in
                                   23
                                        Lion Biotechnologies, Inc.
                                   24
                                               IT IS SO ORDERED.
                                   25
                                        Dated: July 7, 2017
                                   26
                                                                                         ______________________________________
                                   27
                                                                                         SUSAN ILLSTON
                                   28                                                    United States District Judge
